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ZARWIN, BAUM, DEVITO, KAPLAN, SCHAER, TODDY, P.C.
By: Zachary A. Silverstein, Esquire
Attorney ID#: 316491
2005 Market Street, 16th Floor
Philadelphia, PA 19103
Phone: 215-569-2800
Fax: 267-765-9679

                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA



Gregory V. Manco, Ph.D.,                                     Docket No. 22-cv-00285-JLS
                              Plaintiffs,
                        v.
                                                             JURY TRIAL DEMANDED
St. Joseph's University, Hadassah Colbert,
Keirnan Loue, Lynly Carman, Dr. Susan
Liebell, Karleigh Lopez, and Erin Fahey
                               Defendants.


                               WITHDRAWAL OF APPEARANCE

TO THE CLERK:

Kindly withdraw my appearance on behalf of Plaintiff, Gregory Manco, Ph.D in the above matter.

                                             Respectfully submitted,

                                             /s/ Zachary A. Silverstein
                                             By: Zachary A. Silverstein, Esquire
                                             Counsel for Plaintiff, Gregory V. Manco, Ph.D.




Dated: March 21, 2022
